                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                 Plaintiff,      )
                                                 )
                 v.                              )       No. 07-00187-02-CR-W-NKL
                                                 )
LUIS HERNANDEZ-BAUTISTA,                         )
                                                 )
                                 Defendant.      )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26), and 28

U.S.C. § 636, and has entered a plea of guilty to Counts 1 and 3 of the Indictment. I determined that the

guilty pleas are knowledgeable and voluntary and that the offense charged is supported by an

independent basis in fact containing each of the essential elements of such offenses. A record was made

of the proceedings and a transcript is available. I therefore recommend that the pleas of guilty be

accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/ SARAH W. HAYS
                                                         SARAH W. HAYS
                                                         United States Magistrate Judge
Dated:     July 22,2008




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